               Case
     Fill in this       6:22-bk-10891-RB
                  information to identify your case:   Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                   Desc
                                                       Main Document    Page 1 of 29
     United States Bankruptcy Court for the:

     ____________________
     Central               District of _________________
             District of California    (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         RVR   General Construction, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               17666 Randall Ave                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Fontana                     CA      92335
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Los Angeles County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
              Case 6:22-bk-10891-RB                Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                      Desc
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                RVR General Construction, Inc.
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            2381
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
          Case 6:22-bk-10891-RB                      Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                      Desc
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               RVR General Construction, Inc.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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                 Case 6:22-bk-10891-RB                                         Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                                                           Desc
                                                                               Main Document    Page 5 of 29

 Fill in this information to identify the case:

                RVR General Construction, Inc.
  Debtor name _________________________________________________________________

                                          Central District of California
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,253,217.93
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,253,217.93
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          280,520.19
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        4,303,978.14



4. Total liabilities ...........................................................................................................................................................................        4,584,498.33
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                Case 6:22-bk-10891-RB                    Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                      Desc
                                                         Main Document    Page 6 of 29
      Fill in this information to identify the case:

                    RVR General Construction, Inc.
      Debtor name __________________________________________________________________

                                              Central District of California
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):      _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code        and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                             professional        unliquidated, total claim amount and deduction for value of
                                                                             services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if   Deduction for    Unsecured
                                                                                                                    partially         value of         claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff
     State of California Dept. of Industrial                               Disputed Labor Related   Disputed
1    Relations                                                             Claim                    Unliquidated
     Labor Commissioner's Office
                                                                                                                                                      4,287,820.14
     2 MacArthur Place, Ste 800
     Santa Ana, CA, 92707
     Ford Credit                                                           Auto lease
2    National Bankruptcy Service Center
     PO Box 62180
                                                                                                                                                      16,158.00
     Colorado Springs, CO, 80962

     GARCIA & PHAN, A PROFESSIONAL                                         Services
3    LAW CORPORATION
     c/o Juan Garcia, Registered Agent
                                                                                                                                                      0.00
     17011 Beach Blvd, Ste 900
     Huntington Beach, CA, 92647
     Cha Rang Kim                                                          Disputed Litigation Claim Disputed
4    c/o Law Office of Eunice S. Hahn, APC                                                           Unliquidated
     3868 W Carson St, Ste 216                                                                                                                        0.00
     Torrance, CA, 90503


     AvalonBay Communities, Inc.                                           Disputed Litigation Claim Disputed
5    c/o CT Corporation, Reg Agent                                                                   Unliquidated
     818 West 7th Street                                                                                                                              0.00
     Los Angeles, CA, 90017


6




7




8




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
               Case 6:22-bk-10891-RB                Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                     Desc
                                                    Main Document    Page 7 of 29
                  RVR General Construction, Inc.
    Debtor       _______________________________________________________                   Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                       professional        unliquidated, total claim amount and deduction for value of
                                                                       services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                            Total claim, if   Deduction for      Unsecured
                                                                                                            partially         value of           claim
                                                                                                            secured           collateral or
                                                                                                                              setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
             Case 6:22-bk-10891-RB                     Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                  Desc
                                                       Main Document    Page 8 of 29
  Fill in this information to identify the case:

               RVR General Construction, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Central District of California
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          J.P. Morgan Chase Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              8
                                                                                               ____  6
                                                                                                    ____ 3
                                                                                                         ____ 7
                                                                                                              ____               $______________________
                                                                                                                                   377,747.39
          J.P. Morgan Chase Bank
    3.2. _________________________________________________  Savings
                                                           ______________________              1
                                                                                               ____  2
                                                                                                    ____ 5
                                                                                                         ____ 9
                                                                                                              ____                 0.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
         Payments in hand but not yet deposited, in an estimated amount of approx. $450,000
   4.1. _____________________________________________________________________________________________________                      Unknown
                                                                                                                                 $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 377,747.39
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                   Schedule A/B: Assets  Real and Personal Property                                   page 1
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Debtor            RVR General Construction, Inc.          Main Document
                 _______________________________________________________   Page 9 Case
                                                                                  of 29number (if known)_____________________________________
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     577,837.54
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   577,837.54
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 577,837.54
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                page 2
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                RVR General Construction, Inc.
Debtor                                                 Main Document
               _______________________________________________________  Page 10Case
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                                                                                    number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                RVR General Construction, Inc.         Main Document
               _______________________________________________________  Page 11Case
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                                                                                    number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Office Equipment, furnishings, and supplies
                                                                                    1,000.00
                                                                                  $________________    estimated liquidated valuation
                                                                                                      ____________________          1,000.00
                                                                                                                                 $______________________
40. Office fixtures
Office Equipment, furnishings, and supplies
                                                                                    1,000.00
                                                                                  $________________    estimated liquidated valuation
                                                                                                      ____________________          1,000.00
                                                                                                                                 $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office Equipment, furnishings, and supplies                                                            estimated liquidated valuation
                                                                                                                                    1,000.00
                                                                                  $________________   ____________________       $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 3,000.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                              page 4
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                 RVR General Construction, Inc.
 Debtor                                               Main Document
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                                                                                   number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          Ford F550 Truck (lease interest only- provided for disclosure)                                                   Unknown
    47.1___________________________________________________________         $________________     ____________________   $______________________
          2007 Chevrolet C-1500 automobile                                   5,633.00             KBB.com                  5,633.00
    47.2___________________________________________________________         $________________     ____________________   $______________________

    47.3___________________________________________________________         $________________     ____________________   $______________________

    47.4___________________________________________________________         $________________     ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________          $________________     ____________________   $______________________

    48.2__________________________________________________________          $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________          $________________     ____________________   $______________________

    49.2__________________________________________________________          $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             299,412.00                                    289,000.00
    ______________________________________________________________          $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                       294,633.00
                                                                                                                         $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                       page 5
               Case  6:22-bk-10891-RB
                RVR General Construction, Inc.
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                                                                                       number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
        No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
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                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                     _______________ –    __________________________         =   $_____________________
     ______________________________________________________
                                                                     Total face amount    doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________
78. Total of Part 11.
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                page 7
              Case 6:22-bk-10891-RB                              Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37 Desc
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Debtor                                                           Main Document
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                                                                                              number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         377,747.39
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         577,837.54
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         3,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         294,633.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         1,253,217.93                      0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  1,253,217.93                                                                                   1,253,217.93
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
            Case 6:22-bk-10891-RB                     Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37              Desc
                RVR General Construction, Inc.        Main Document    Page 16 of 29
 Debtor 1                                                            _                 Case number (if known)
               First Name     Middle Name        Last Name



                                                     Continuation Sheet for Official Form 206 A/B
50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Manitou (rotating                    290,412.00                   Acquisition Cost                   280,000.00
forklift) MRT3255                                                 with estimated
                                                                  Depreciation

Tools, Fixtures,                     9,000.00                     estimated                          9,000.00
and Equipment                                                     liquidated
                                                                  valuation




Official Form 206 A/B                                             Schedule A/B: Property
               Case 6:22-bk-10891-RB                             Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                           Desc
                                                                 Main Document    Page 17 of 29
  Fill in this information to identify the case:
              RVR General Construction, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Central District of California

  Case number (If known):       _________________________                                                                                              Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                               12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien           of collateral.            claim
     PNC Equipment Finance, LLC                                  Manitou (rotating forklift) MRT3255
      __________________________________________                                                                                  280,520.19
                                                                                                                                $__________________          280,000.00
                                                                                                                                                           $_________________

     Creditor’s mailing address

      655 Business Center Drive, Ste 250
      ________________________________________________________
      Horsham, PA 19044
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made, 2021 Manitou purchase agreement
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            10/27/2021
                                     __________________           
                                                                  ✔ No

    Last 4 digits of account                                       Yes
    number                   _________________                    Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  No
    same property?                                                
                                                                  ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    
    ✔
      No
                                                                  As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                  Check all that apply.
                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                  Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                  Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  No
    same property?                                                 Yes
     No                                                          Is anyone else liable on this claim?
     Yes. Have you already specified the relative                 No
           priority?
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.              As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                   Contingent
          Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                        Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   280,520.19
                                                                                                                                 $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         2
                                                                                                                                                             page 1 of ___
             Case 6:22-bk-10891-RB                    Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                         Desc
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Debtor
               RVR General Construction, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
                   Case 6:22-bk-10891-RB                  Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37                                  Desc
      Fill in this information to identify the case:      Main Document    Page 19 of 29

      Debtor
                      RVR General Construction, Inc.
                      __________________________________________________________________

                                              Central District of California
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔ No. Go to Part 2.

       Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               3
                                                                                                                                            page 1 of ___
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              RVR General Construction, Inc.          Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37 Desc
  Debtor        _______________________________________________________
                Name                                  Main Document    Page 20Case number (if known)_____________________________________
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 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                 Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AvalonBay Communities, Inc.                                                                                                  Unknown
                                                                                                                               $________________________________
                                                                            Contingent
    c/o CT Corporation, Reg Agent                                          
                                                                           ✔
                                                                             Unliquidated
    818 West 7th Street                                                    
                                                                           ✔
                                                                             Disputed
    Los Angeles, CA, 90017                                                                         Disputed Litigation Claim
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Cha Rang Kim                                                           Check all that apply.                                 Unknown
                                                                                                                               $________________________________
    c/o Law Office of Eunice S. Hahn, APC                                   Contingent
    3868 W Carson St, Ste 216                                              
                                                                           ✔ Unliquidated

    Torrance, CA, 90503                                                    
                                                                           ✔ Disputed

                                                                           Basis for the claim:
                                                                                                   Disputed Litigation Claim


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Ford Credit                                                                                                                  16,158.00
                                                                                                                               $________________________________
                                                                            Contingent
    National Bankruptcy Service Center                                      Unliquidated
    PO Box 62180                                                            Disputed
    Colorado Springs, CO, 80962
                                                                           Basis for the claim:
                                                                                                   Auto lease

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            2760
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    GARCIA & PHAN, A PROFESSIONAL LAW                                      Check all that apply.
                                                                                                                                 Unknown
                                                                                                                               $________________________________
    CORPORATION                                                             Contingent
    c/o Juan Garcia, Registered Agent                                       Unliquidated
    17011 Beach Blvd, Ste 900                                               Disputed
    Huntington Beach, CA, 92647                                             Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    State of California Dept. of Industrial Relations                                                                            4,287,820.14
                                                                                                                               $________________________________
                                                                           Check all that apply.
    Labor Commissioner's Office                                             Contingent
    2 MacArthur Place, Ste 800                                             
                                                                           ✔ Unliquidated
    Santa Ana, CA, 92707                                                   
                                                                           ✔ Disputed
                                                                           Basis for the claim:
                                                                                                   Disputed Labor Related Claim

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                               $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________          No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    3
                                                                                                                                                           2 of ___
            Case   6:22-bk-10891-RB
             RVR General Construction, Inc.      Doc 1 Filed 03/12/22 Entered 03/12/22 14:54:37 Desc
 Debtor        _______________________________________________________
               Name                              Main Document    Page 21Case number (if known)_____________________________________
                                                                          of 29
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          0.00
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     4,303,978.14
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                4,303,978.14
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __    3
                                                                                                                                      3 of ___
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 Fill in this information to identify the case:

             RVR General Construction, Inc.
 Debtor name __________________________________________________________________

                                         Central District of California
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Automobile Lease for Ford F550                   Ford Credit
         State what the contract or    Lessee                                           National Bankruptcy Service Center
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        PO Box 62180
                                                                                        Colorado Springs, CO, 80962
         State the term remaining
                                       End 10/2022
         List the contract number of
         any government contract

                                       Construction Contract RE 2405                    Westside Contractors, Inc.
         State what the contract or    Hauser Blvd, Los Angeles, CA                     10474 SANTA MONICA BLVD., Ste 402
 2.2     lease is for and the nature
         of the debtor’s interest                                                       Los Angeles, CA, 90025

         State the term remaining    Executory Contract for Construction
         List the contract number of
                                     Services
         any government contract

                                       Construction Contract re 2221                    CIM GROUP, L.P.
         State what the contract or    Western Ave, Los Angeles, CA                     4700 WILSHIRE BLVD
 2.3     lease is for and the nature
         of the debtor’s interest                                                       Los Angeles, CA, 90010

         State the term remaining      Executory Contract for Construction
         List the contract number of
                                       Services
         any government contract

                                       Employee leasing agreement                       Workforce Business Services CA
         State what the contract or
 2.4                                                                                    1401 Manatee Ave W., Ste 600
         lease is for and the nature
         of the debtor’s interest                                                       Bradenton, FL, 34205

         State the term remaining    executory contract for employee
         List the contract number of leasing
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
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                                                       Main Document    Page 23 of 29
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             RVR General Construction, Inc.

                                         Central District of California
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Rafael Rivas                    Rafael Rivas                                                        PNC Equipment Finance, 
                                                                                                                                ✔ D
                                     17666 Randall Ave                                                   LLC                     E/F
                                     Fontana, CA 92335                                                                                        G




 2.2                                 Rafael Rivas
                                                                                                                                        D
                                     17666 Randall Ave                                                                                 ✔ E/F
                                                                                                                                       
       Rafael Rivas                  Fontana, CA 92335                                                                                  G
                                                                                                         State of California Dept. of Industrial Relations



 2.3                                 CIM Group, Inc.
                                     c/o AVRAHAM SHEMESH, Reg. Agent                                                                          D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       CIM Group, Inc.               6922 Hollywood Blvd, Ste 900                                         Cha Rang Kim                        G
                                     Los Angeles, CA 90028


 2.4
                                                                                                                                              D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Jose Pedro Fernandez-Marquez                                                                      Cha Rang Kim                         G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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AvalonBay Communities, Inc.
c/o CT Corporation, Reg Agent
818 West 7th Street
Los Angeles, CA 90017


Cha Rang Kim
c/o Law Office of Eunice S. Hahn, APC
3868 W Carson St, Ste 216
Torrance, CA 90503


CIM Group, Inc.
c/o AVRAHAM SHEMESH, Reg. Agent
6922 Hollywood Blvd, Ste 900
Los Angeles, CA 90028


Ford Credit
National Bankruptcy Service Center
PO Box 62180
Colorado Springs, CO 80962


GARCIA & PHAN, A PROFESSIONAL LAW CORPORATION
c/o Juan Garcia, Registered Agent
17011 Beach Blvd, Ste 900
Huntington Beach, CA 92647


PNC Equipment Finance, LLC
655 Business Center Drive, Ste 250
Horsham, PA 19044


State of California Dept. of Industrial Relat
Labor Commissioner's Office
2 MacArthur Place, Ste 800
Santa Ana, CA 92707
        Case
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                                      United States Bankruptcy Court
                                                              Central District of California
                                               __________________________________
     In re RVR General Construction, Inc.
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         20,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         550.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
debt reaffirmation, motion practice, or litigation matters (including adversary proceedings)
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
RVR General Construction, Inc.                                                  11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Rafael Rivas                                                100                     Common stockholder
 17666 Randall Ave, Fontana, CA 92335
